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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


   UNITED STATES OF AMERICA
                                                Criminal Action No.
           v.
                                                1:20-CR-481-SCJ-RDC
   ELIAYAH BENNETT


GOVERNMENT’S RESPONSE IN OPPOSITION TO DEFENDANT’S FIRST
      MOTION TO SUPPRESS GRAND JURY SUBPOEANAS
        COMES NOW the United States of America, by Ryan K. Buchanan, United

States Attorney, and Irina K. Dutcher, Assistant United States Attorney, Northern

District of Georgia, and hereby files the Government’s Response in Opposition to

Defendant’s First Motion to Suppress Grand Jury Subpoenas. Defendant Eliayah

Bennett requests the Court to suppress evidence 1 obtained by the Government

pursuant to subpoenas lawfully issued to certain banks and a cell phone service


   1Throughout the motion, Defendant conflates a request to suppress the
evidence obtained pursuant to the subpoenas with a motion to quash the
subpoenas. Because Defendant was not a party to the subject subpoenas, and the
financial institutions and cell phone provider to whom the subpoenas were
issued already have produced responsive records, the Government considers the
motion before the Court a motion to suppress evidence. However, even if
Defendant had timely filed a motion to quash, seeking to prevent the businesses
from complying with the issued Grand Jury subpoenas, she would have lacked
standing to challenge the subpoenas as violations of her privacy because she
cannot demonstrate a reasonable expectation of privacy in records held by the
banks and cell phone service providers, as further explained herein. See Presley v.
United States, 895 F.3d 1284, 1288 (11th Cir. 2018).
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provider by a federal Grand Jury. Because the Defendant failed to demonstrate
that she has reasonable expectation of privacy in the records that she seeks to

suppress, the Court should deny her motion.

   I. Statement of Facts
   During an investigation of bank fraud and money laundering activity by the

Defendant and her conspirators, the Government obtained evidence from several

financial institutions and a cellular phone service provider through federal Grand

Jury subpoenas 2, including, in pertinent part:

   • a subpoena issued on or about November 3, 2020, directing JPMorgan Chase

to provide records of Account Number 632865603 and all accounts held by Eliayah
Bennett, for the time period from June 1, 2020 through the present date [November

3, 2020];




   2 A federal grand jury enjoys sweeping powers to investigate allegations of
criminal behavior. United States v. Calandra, 414 U.S. 338, 343-44, 94 Ct. 613, 38 L.
Ed. 2d 561 (1974); In re Grand Jury Proceedings (Williams), 995 F.2d 1013 (11th Cir.
1993). The government can enforce grand jury subpoenas without having to
demonstrate relevance or admissibility of sought-after evidence. The only limit
on this enforceability is if there is “no reasonable possibility” the materials would
yield evidence relevant to the investigation. United States v. R. Enterprises Inc., 498
U.S. 292, 301, 11 S. Ct. 722, 112 L. Ed. 2d 795 (1991). Further, “[T]he law
presumes, absent a strong showing to the contrary, that a grand jury acts within
the legitimate scope of its authority.” United States v. Alred, 144 F.3d 1405, 1413
(11th Cir. 1998). Therefore, to quash subpoena or suppress the evidence obtained
through it, the moving party would have to show the subpoena, when issued,
had “no reasonable possibility” of yielding relevant investigative information or
that the information subpoenaed required a warrant.

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   • a subpoena issued on or about November 5, 2020, directing Wells Fargo to
provide records for accounts related to Eliayah Bennett for the time period from

June 1, 2019 through the present date [November 5, 2020];

   • a subpoena issued on or about November 18, 2020, directing Bank of
America to provide all records pertaining to Eliayah Bennett and the business

entity 4XElevenLLC for the time period from June 1, 2020 through the present date

[November 18, 2020]; and

   • a subpoena issued on or about October 6, 2020, directing AT&T to provide

toll records, subscriber information, and account-related information for phone

number 470-902-7171 for the time period from June 1, 2020 through the present

date [October 6, 2020].

   II. Legal Authority and Argument

   The Fourth Amendment guarantees “[t]he right of the people to be secure in

their persons, houses, papers, and effects, against unreasonable searches and

seizures.” U.S. Const. amend. IV. A party may establish a Fourth Amendment

search by showing that the government engaged in conduct that “would have

constituted a ‘search’ within the original meaning of the Fourth Amendment,”

United States v. Jones, 565 U.S. 400, 406 n.3, 132 S. Ct. 945, 950 n.3, 181 L. Ed. 2d 911

(2012). “Search” originally was tied to common-law trespass and involved some
trespassory intrusion on property. See, e.g., Kyllo v. United States, 533 U.S. 27, 31-

32, 121 S. Ct. 2038, 2042, 150 L. Ed. 2d 94 (2001). But in 1967, the Supreme Court

added a separate test—the reasonable-expectation-of-privacy test—to analyze
whether a search occurred for purposes of the Fourth Amendment. See Smith v.

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Maryland, 442 U.S. 735, 739-40, 99 S. Ct. 2577, 2579-80, 61 L. Ed. 2d 220 (1979) (citing
Katz v. United States, 389 U.S. 347, 88 S. Ct. 507, 19 L. Ed. 2d 576 (1967)). Thus, to

determine whether the government’s obtaining access to certain third-party

business records constitutes a search within the meaning of the Fourth
Amendment, the Eleventh Circuit has applied Katz’s reasonable-expectation-of-

privacy test. United States v. Davis, 785 F.3d 498, 507 (11th Cir. 2015) (citing Katz,

389 U.S. 347, 88 S. Ct. 507, 19 L. Ed. 2d 576)).

   The Katz inquiry is two-part: first, has the individual manifested a subjective

expectation of privacy in the object of the challenged search? Id. (citing California

v. Ciraolo, 476 U.S. 207, 211, 106 S. Ct. 1809, 1811, 90 L. Ed. 2d 210 (1986)). “Second,

is society willing to recognize that expectation as reasonable?” Id. Thus, “a party

alleging an unconstitutional search under the Fourth Amendment must establish

both a subjective and an objective expectation of privacy to succeed.” United States

v. Robinson, 62 F.3d 1325, 1328 (11th Cir. 1995).

   In subsequently applying Katz’s test, the Supreme Court held, in United States

v. Miller and Smith v. Maryland, that individuals have no reasonable expectation of

privacy in certain business records owned and maintained by a third-party

business. Miller, 425 U.S. 435, 437-38, 96 S. Ct. 1619, 1621, 48 L. Ed. 2d 71 (1976);

Smith, 442 U.S. at 739-40, 99 S. Ct. at 2579-80.
   A. Defendant Bennett has no reasonable expectation of privacy in bank

records owned and maintained by JP Morgan Chase, Wells Fargo, and Bank of

America.



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   The Supreme Court in Miller held that an individual had no protectable Fourth
Amendment interest in his bank account records because the documents were: (1)

business records of transactions to which the banks were parties and (2) Miller

voluntarily conveyed the information to the banks. 425 U.S. at 440-43, 96 S. Ct. at
1622-24. Miller had “neither ownership nor possession” over the papers and the

records. Id. at 437, 440, 96 S. Ct. at 1621, 1623. Rather, the papers were “the business

records of the banks.” Id. at 440-41, 96 S. Ct. at 1623. All of the bank records

contained information “voluntarily conveyed to the banks and exposed to their

employees in the ordinary course of business.” Id. at 442, 96 S. Ct. at 1624. The

Supreme Court noted “that the Fourth Amendment does not prohibit the

obtaining of information revealed to a third party and conveyed by him to

Government authorities, even if the information is revealed on the assumption

that it will be used only for a limited purpose and the confidence placed in the

third party will not be betrayed.” Id. at 443, 96 S. Ct. at 1624; see also In re Grand

Jury Proceeding, 842 F.2d 1229, 1234 (11th Cir. 1988) (“[A]n individual has no claim

under the fourth amendment to resist the production of business records held by

a third party.”).

   Even considering the significant advances in computer technology, automated

banking, and the evolution of online purchasing platforms since the Supreme
Court decided Miller, the premise upon which the opinion is based remains true;

i.e., bank records contain information that is voluntarily conveyed by the account-

holder to the banks and exposed to their employees in the ordinary course of
business. The ability to conduct bank transactions remotely, without interaction

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with an employee in person, does nothing to negate the voluntary nature of the
account holder’s exchange of information with a third-party financial institution.

Nor does the prevalence of online banking change the nature of the information

that is a considered a business record held by a third-party.
   Consistent with this reasoning, the Supreme Court more recently has affirmed

the vitality of its holding, explicitly declining to overrule Miller, even while

recognizing the emergence of individual privacy interests in other narrow

categories of third-party business records. See Carpenter v. United States, 138 S. Ct.

2206, 2220 (2018) (“Our decision today is a narrow one. . . We do not disturb the

application of Smith and Miller.”). And the Eleventh Circuit consistently has

followed Miller, opining that the third-party doctrine still precludes the

conclusion, similarly pressed here by Defendant Bennett, that the government

must show probable cause to enforce a summons or subpoena issued to financial

institution for financial records. See Presley v. United States, 895 F.3d 1284, 1288

(11th Cir. 2018) (upholding the denial of account holders’ motions to quash

administrative summonses issued to Bank of America by the Internal Revenue

Service because they lacked a reasonable expectation of privacy under the Fourth

Amendment in information revealed to a third party and conveyed by that third

party to Government authorities).
   Defendant Bennett urges the Court to reconsider what the United States

Supreme Court and the Eleventh Circuit already have explicitly declined to do;

that is, to overrule the decision in Miller and extend the narrow holding of
Carpenter to find that Bennett has a reasonable expectation of privacy in the

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business records of JPMorgan Chase, Wells Fargo, and Bank of America. (See Doc.
117, at p. 6). But there exists no legal or equitable justification for doing so. 3

Defendant Bennett voluntarily shared information with the banks, knowing that

those third parties would keep records 4 related to her banking transactions in the

ordinary course of business. Consequently, Defendant Bennett cannot show that

she has a protectible Fourth Amendment interest in the evidence that she seeks to

suppress, and the Court should deny the motion on that basis.




   3 Defendant also cites the California Consumer Privacy Act of 2018 for the
proposition that some states have set notice requirements for businesses that
collect personal data and which allows citizens autonomy to opt out of having
their information shared by businesses to other parties. (Doc. 117, at p. 5). This
state civil statute, even if it was applicable to the Defendant, does not establish a
Fourth Amendment expectation of privacy in a bank’s business records, nor does
it require a showing of probable cause prior to the government seizing said
information.
   4 Defendant’s motion alternatively advocates for the abandonment of the
third-party doctrine in favor of an approach, contemplated by Justice Gorsuch in
his dissenting opinion in Carpenter, in which an account holder’s sharing of
financial information with a bank is considered a “bailment” and the bank is
considered a “bailee” who “owes a legal duty to keep the items safe, according to
the terms of the parties’ contract if they have one.” (Doc. 117, at 6-7) (citing
Carpenter, 138 S.Ct. at 2261-2262 (Gorsuch, J. dissenting)). But the majority
opinion in Carpenter explicitly declined to adopt the analysis urged by
Defendant; nor has the Eleventh Circuit recognized such an approach.
Consequently, the bailment theory is not the controlling law upon which this
Court should decide the Defendant’s motion.


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   B. Defendant has no reasonable expectation of privacy in toll records,
subscriber detail, or account-related business records owned and maintained by

AT&T.

   The Supreme Court in Smith v. Maryland held that telephone users have no
reasonable expectations of privacy in dialed telephone numbers recorded through

pen registers and contained in the third-party telephone company’s records. 442

U.S. at 742-46, 99 S. Ct. at 2581-83. The Supreme Court determined that Smith had

no subjective or objective expectation of privacy in the numbers he dialed on the

telephone and thus the installation of the pen register, by the telephone company

at the government’s request, did not constitute a search under the Fourth

Amendment. Id.

   As to the subjective expectation of privacy, the Supreme Court in Smith

doubted that “people in general entertain any actual expectation of privacy in the

numbers they dial” because “[a]ll telephone users realize that they must ‘convey’

phone numbers to the telephone company, since it is through telephone company

switching equipment that their calls are completed.” Id. at 742, 99 S. Ct. at 2581.

The Supreme Court stated that “[t]elephone users, in sum, typically know that

they must convey numerical information to the phone company; that the phone

company has facilities for recording this information; and that the phone company
does in fact record this information for a variety of legitimate business purposes.”

Id. at 743, 99 S. Ct. at 2581. “Although subjective expectations cannot be

scientifically gauged, it is too much to believe that telephone subscribers, under



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these circumstances, harbor any general expectation that the numbers they dial
will remain secret.” Id.

   As to the objective expectation of privacy, the Supreme Court determined that,

“even if [Smith] did harbor some subjective expectation that the phone numbers
he dialed would remain private, this expectation is not ‘one that society is

prepared to recognize as reasonable.’” Id. (quoting Katz, 389 U.S. at 361, 88 S. Ct.

at 516) (internal quotation marks omitted). The Supreme Court “consistently has

held that a person has no legitimate expectation of privacy in information he

voluntarily turns over to third parties.” Id. at 743-44, 99 S. Ct. at 2582.

   The Supreme Court in United States v. Carpenter declined to extend the third-

party doctrine to cell-site location information, holding that “a warrant is required

in the rare case where the suspect has a legitimate privacy interest in records held

by a third party.” 138 S. Ct. 2206, 2222 (2018). But the Court stressed that its holding

“is a narrow one,” with specific consideration given to “the unique nature of cell

phone location information,” id. at 2220, which “provides an intimate window into

a person’s life,” id. at 2217. Carpenter reiterated that two primary rationales

underlie the third-party doctrine: the nature of the information sought and the

voluntariness of the exposure to third parties. Importantly, the Carpenter Court

explicitly declined to overrule Smith. Id. at 2220. And despite significant advances
in cell phone technology, the Eleventh Circuit continues to follow Smith. See, e.g.

United States v. Gayden, 977 F.3d 1146, 1151 (11th Cir. 2020) (based on binding

precedent in Smith, affirming the denial of a motion to suppress records obtained



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by the government from the Florida Prescription Drug Monitoring Program
system without a warrant).

   In the instant case, the government obtained no more extensive or intrusive

information than the records that were at issue in Smith. Specifically, the
government obtained through subpoena only non-content evidence: toll records

and subscriber information. Neither her toll records nor her subscriber

information contained private communications of the subscriber or data

concerning her location. This type of non-content evidence, lawfully created by a

third-party telephone company for legitimate business purposes, does not belong

to Bennett. She can assert neither ownership nor possession of the third-party’s

business records; those records were created by AT&T, stored on its own premises,

and subject to its control. Therefore, neither one day nor several months of such

records, produced by subpoena, violates the Fourth Amendment. Accordingly,

binding precedent compels the conclusion that Bennett had no reasonable

expectation of privacy in the records and consequently, the Court also should deny

her motion to suppress evidence obtained pursuant to the Grand Jury subpoenas.

   III.   Conclusion

   This Court is bound by the decisions in both Miller and Smith, which dictate

that a warrant is not required for the government to obtain bank records and cell
phone information that Defendant voluntarily provided to the third-party

companies.




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  Accordingly, the government requests the Court deny Defendant Bennett’s
Motion to Suppress Grand Jury Subpoenas.

  Respectfully submitted, this 1st day of JULY 2022.


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                          CERTIFICATE OF SERVICE

   This is to certify that I have this day served the foregoing Response in

Opposition to Defendant’s First Motion to Suppress Grand Jury Subpoenas today

by filing it using the Court’s CM/ECF system, which automatically notifies the

parties and counsel of record.

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July 1, 2022


                                          /s/ I RINA K. D UTCHER

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